         Case 1:03-cr-00456-RDB Document 121 Filed 09/08/20 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               NORTHERN DISTRICT

                                                 *
UNITED STATES OF AMERICA,                        *
                                                 *
                                                 *          Crim. No. RDB-03-0456
       v.                                        *
                                                 *
                                                 *
RONALD CAMPBELL, III                             *

                                           * * * * *


                          DECLARATION OF PARESH S. PATEL

       I, Paresh S. Patel, affirm under oath that the following is true to the best of my knowledge

and belief:

       1.     I am an Assistant Federal Public Defender at the Office of the Federal Public

              Defender for the District of Maryland. I am currently representing Mr. Campbell in

              the above-captioned case.

       2.     On February 10, 2005, Mr. Campbell pled guilty to one count of using a firearm

              during and in relation to a “crime of violence” in violation of 18 U.S.C. § 924(c).

              This Court subsequently sentenced Mr. Campbell to 180 months imprisonment and

              five years of supervised release . Mr. Campbell was released in August 2017 after

              being incarcerated for 13 years.

       3.     However, pending before the Court is Mr. Campbell’s motion to vacate his

              conviction under 28 U.S.C. § 2255 in light of United States v. Davis, 139 S. Ct. 2319

              (2019) (ECF Nos. 85, 87, 105-1).
 Case 1:03-cr-00456-RDB Document 121 Filed 09/08/20 Page 2 of 2



4.    The parties agree that Mr. Campbell’s § 924(c) conviction is invalid and therefore,

      his current guilty plea should be vacated. The parties further agree that upon vacatur

      of his § 924(c) conviction, Mr. Campbell          will plead guilty to a one-count

      information charging conspiracy to commit Hobbs Act robbery in violation of 18

      U.S.C. § 1951(a). To that end, Mr. Campbell has signed a new plea agreement in

      which he agrees to plead guilty to one count of conspiracy to commit Hobbs Act

      conspiracy in violation of 18 U.S.C. § 1951(a), as will be charged in a superseding

      information. The parties further stipulate and agree that pursuant to Federal Rule of

      Criminal Procedure 11(c)(1)(C), a sentence of time served and termination of

      supervised release is the appropriate disposition in this case.

5.    Finally, the parties agree that Mr. Campbell’s rearraignment and sentencing, which

      should take place on the same day, can proceed via videoconferencing. Mr.

      Campbell has informed me that he is willing to participate in the hearing via

      videoconferencing and waive his presence in the courtroom itself.



DATE: September 8, 2020     SIGNATURE: /s/ Paresh S. Patel




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